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 UNITED STATES DISTRICT COURT FOR THE
 EASTERN DISTRICT OF NEW YORK

                                                X
  DIANE T. CLARKE, ILANA KOPMAR, ISAAC
  ALTMAN, and DAVID ROSENFELD,

                               Plaintiffs,
                                                     Case No. 2:23-cv-08869
              -against-                              (NJC)(ARL)
  THE ASSOCIATION OF LEGAL AID
  ATTORNEYS, AMALGAMATED LOCAL UNION
  2325 OF THE INTERNATIONAL UNION, UNITED
  AUTOMOBILE AEROSPACE AND
  AGRICULTURAL IMPLEMENT WORKERS OF
  AMERICA (UAW), AFL-CIO, LISA OHTA, BRET J.
  TAYLOR, JEREMY BUNYANER, EMILY C.
  EATON, MARTYNA KAZNOWSKI, GILLIAN R.
  KRESS, JOANA CALIN, PUJA PAUL,

                               Defendants.
                                                X




      MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’ MOTION
          TO DISSOLVE THE TEMPORARY RESTRAINING ORDER
            AND IN SUPPORT OF PRELIMINARY INJUNCTION




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        Plaintiffs file this Memorandum of Law in Opposition to Defendants’ Motion to Dissolve

 the TRO and In Support of Preliminary Injunction. Plaintiffs respectfully request that the Court

 issue a preliminary injunction to maintain the injunctive relief pursuant to the TRO issued by the

 New York State court and preclude the submission of the Resolution by the ALAA for a vote

 pending a determination on Plaintiffs’ claims.

                                 PRELIMINARY STATEMENT

        Plaintiffs in this case are legal aid attorneys in Nassau County. They use their skills and

 training as lawyers to help those who need it most. They are dedicated to representing indigent

 individuals and deeply committed to the principle articulated by the Supreme Court in Gideon v.

 Wainwright, 372 U.S. 335 (1963), pursuant to the Sixth Amendment of the Constitution, that “any

 person haled into court, who is too poor to hire a lawyer, cannot be assured a fair trial unless

 counsel is provided for him.”

        Plaintiffs are members of a union, Defendant Association of Legal Aid Attorneys,

 Amalgamated Local Union 2325 of the UAW (“ALAA” or the “Union”), which is supposed to

 represent all legal aid attorneys in New York City and certain surrounding areas, including Nassau

 County. Increasingly, Plaintiffs have been subjected to hostility in the form of anti-Israel and

 antisemitic rhetoric on Union platforms and through Union messaging systems.

        But this case is about a cynical effort by the Union to compel Plaintiffs—and other

 members in the minority at the ALAA—to effectively adopt and be publicly associated with some

 of that anti-Israel and antisemitic rhetoric as their own. That is because the ALAA is attempting

 to pass a resolution (the “Resolution”) related to Israel that the Legal Aid Society of New York




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 has referred to as “laden with coded antisemitic language and thinly veiled calls for the destruction

 of the State of Israel” and “divisive and hurtful.”1

         The ALAA plans to issue the Resolution “by the Association of Legal Aid Attorneys,

 United Auto Workers Local 2325” in the name of its members, the “legal workers, including

 attorneys, paralegals, legal advocates, social workers, interpreters, investigators, administrative

 staff and more” without any qualifications. In other words, the ALAA will present the Resolution

 as a purported communication by all legal aid attorneys in the Union, including those who vote

 against it and do not want to be associated with it.

         Defendants seek to justify this gross misrepresentation by contending that they were asked

 to bring the Resolution to the membership for adoption and all members will have a vote. There

 is no dispute that if Defendants are permitted to proceed and a majority votes in favor, Defendants

 will publish the Resolution on behalf of all ALAA members, regardless of how they voted. But

 the preference of a majority of ALAA members as expressed in a vote is not legitimate justification

 to compel the members in the minority—to whom the Defendants owe exactly the same duties as

 the majority—to issue a political resolution the minority members view as discriminatory and in

 conflict with their responsibilities as legal aid attorneys.

         Actually, no legitimate justification has been provided by Defendants. For starters, the

 Resolution has nothing to do with the Union’s central purpose, which is to serve as a representative

 for all legal aid attorneys employed in New York and surrounding counties in the collective

 bargaining process. Defendants have no authority under the ALAA Bylaws to submit for a vote,

 adopt, and issue the Resolution putatively on behalf of all members. Nor can Defendants engage


 1
      The Legal Aid Society, Statement for Resolution from ALAA (Nov. 15, 2023), available
 at https://legalaidnyc.org/wp-content/uploads/2023/11/Statement-on-Resolution-from-ALAA-
 UAW-Local-2325.pdf (last visited Dec. 12, 2023).


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 in any conduct that is arbitrary or discriminatory. Plainly, Defendants’ attempts to issue the

 Resolution breach the Bylaws and Defendants’ duty of fair representation. And there is nothing

 preventing any of the individual ALAA members—officer Defendants and others—from making

 whatever statements they are inclined to make, whether individually or collectively, on their own

 behalf. But they cannot do so in the name of the minority members who do not agree, much less

 for the purpose of magnifying a divisive or discriminatory message by giving it the false

 imprimatur of all legal aid attorneys in the Union.

        This case is not about Defendants’ free speech rights; it is about the right of Plaintiffs

 to avoid being compelled by Defendants—in breach of Defendants’ obligations—to participate

 in speech Plaintiffs find discriminatory and that will compromise their professional

 responsibilities to indigent defendants.     As the Supreme Court has made abundantly and

 repeatedly clear, including in Pacific Gas and Electric Co. v. Public Utilities Commission of

 California, 475 U.S. 1, 11 (1986): “There is necessarily . . . a concomitant freedom not to speak

 publicly, one which serves the same ultimate end as freedom of speech in its affirmative aspect.”

        Defendants have not once offered any explanation for why the ALAA is seeking to publish

 this particular message as a membership resolution rather than simply issuing a statement by the

 ALAA leadership or whichever members choose to sign on. When Judge Felice J. Muraca,

 Supreme Court of New York, Nassau County, held the hearing on extending the TRO enjoining

 the vote on the Resolution, he asked Defendants’ counsel: “By the way, has this organization, this

 Union, ever issued any sort of resolution on any issue . . . . outside the function of the general

 duties of the Union, which is collective bargaining?”

        It turns out that in the last 50 years, there appears to have been only one such ALAA

 membership resolution, period: “A Resolution on Divestment from Israel Bonds.” If brought to




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 a membership vote and adopted, the Resolution would thus be the second. Indeed, in an ostensible

 “Digest” of statements issued by the ALAA and its executives over the last half century (circulated

 recently by supporters of the Resolution apparently to show in response that it is not unique or

 discriminatory), a group of supposed ALAA “Rank and File Members” purported to identify more

 than two dozen “Statements and Positions on Matters of Public Concern.” But only one is listed

 as an ALAA membership resolution. In other words, ALAA membership resolutions are reserved

 in practice for condemnation of Israel.

        Senator Charles Schumer recently explained in a landmark speech on antisemitism:

        To Jewish people, the double standard has been ever present and is at the root of
        antisemitism. The double standard is very simple:

        What is good for everybody, is never good for the Jew. When it comes time to
        assign blame for some problem, the Jew is always the first target.

        And in recent decades, this double standard has manifested itself in the way much
        of the world treats Israel differently than anybody else.2

        The Resolution is discriminatory, arbitrary, and in bad faith. It thus violates the Union’s

 duty of fair representation and its own Bylaws.

        And the harm is real and imminent. Compelling Plaintiffs to publicly adopt a diatribe

 attacking Israel that, in their view, is antisemitic, is plainly injurious to Plaintiffs—three of whom

 are Jewish. Defendants’ counsel has even acknowledged in candor that it seems clear “that

 plaintiff[]s experience deep discomfort associated with” the statements in the Resolution.




 2
         Majority Leader Schumer Delivers Major Address on Antisemitism on the Senate Floor
 (Nov.      29,   2023),    available   at   https://www.democrats.senate.gov/newsroom/press-
 releases/majority-leader-schumer-delivers-major-address-on-antisemitism-on-the-senate-floor
 (last visited Dec. 12, 2022). Unless otherwise indicated herein, internal citations and quotation
 marks are omitted.


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         But the harm goes far beyond that. The Court need not find today that the Resolution is

  antisemitic in order to conclude that its publication in the name of all members must be enjoined.

         Plaintiffs are lawyers who represent indigent defendants. The sine qua non of their

  profession—and the organizations they work for—is that they strive to avoid all appearances of

  partiality or conflicts so that they may zealously represent their clients, regardless of race,

  ethnicity, or religion. The Resolution will materially impair plaintiffs’ ability to act as Gideon

  lawyers.

         When confronted with this reality at the same hearing, Defendants’ counsel had this to say:

  “[T]his is a voluntary organization. Plaintiffs are free to resign membership.” Indeed, Defendants’

  counsel even repeated this: “If a vote occurs and the resolution is approved, as I said, plaintiffs can

  resign from union membership.”

         And perhaps that is the point. The Resolution, which incants the slur of “ethnic cleansing”

  no fewer than four times, may succeed in cleansing the ranks of the ALAA of an apparently

  disfavored minority.

                                           BACKGROUND

         In the context of the ongoing war in Gaza in the wake of the Hamas terrorist attack in Israel

  on October 7, 2023, Plaintiffs’ union, the ALAA, sought in November 2023 to issue a “Resolution

  Calling for a Ceasefire in Gaza, an End to the Israeli Occupation of Palestine, and Support for

  Workers’ Political Speech” (the “Resolution”). (See ECF No. 6-4.)

         The Resolution represents that the members of the ALAA “stand for human rights,” but it

  has no condemnation for the brutal gang rapes of women and girls, torture, mass murder,

  kidnapping, and other atrocities committed against Israelis and others in Israel on October 7 by

  Hamas. (See generally Resolution.)         Instead, as the Legal Aid Society of New York has

  characterized it, “[t]he resolution is laden with coded antisemitic language and thinly veiled calls


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  for the destruction of the State of Israel” and is “divisive and hurtful.”3 The Legal Aid Society of

  Nassau County (“NCLAS”) conveyed a similar characterization and made it clear that the

  Resolution “does not represent the values or mission of our office.” (NCLAS Statement Opposing

  the Resolution, Ex. 4 to Kahn Decl.)

          Plaintiffs Diane T. Clarke, Ilana Kopmar, Isaac Altman, and David Rosenfeld, who are

  legal aid attorneys at NCLAS and members of the ALAA, serve as public defenders for indigent

  clients in Nassau County. Regardless of any particular person’s perception of the Resolution, there

  is no dispute that Plaintiffs view the content as antisemitic and discriminatory. (See also Defs.’

  Mem. in Supp. of Mot. (“Br.”) at 15 (conceding the Resolution may offend some ALAA members,

  including Plaintiffs).)

          Nevertheless, the ALAA is attempting to compel Plaintiffs to adopt that speech as their

  own. The Resolution is to be voted on, adopted, and issued by the “legal workers, including

  attorneys, paralegals, legal advocates, social workers, interpreters, investigators, administrative

  staff,” and other members of the ALAA. (Resolution at 1.)

          If passed, the Resolution appears to be just the second resolution unrelated to collective

  bargaining in approximately the last 50 years that the ALAA membership will have adopted. The

  other, purportedly adopted on July 22, 2022, also espouses anti-Israel sentiment, and calls for the

  divestment of Israeli bonds purportedly “in support of Palestinian liberation from Israeli

  apartheid.” (Digest of Select Statements and Positions on Matters of Public Concern by ALAA

  (“Digest”), Ex. A to Clarke Decl.)

          On November 13, 2023, the ALAA circulated to its members a copy of the Resolution in

  advance of a November 14, 2023 ALAA meeting. (ECF No. 6-3.) At that meeting, the Bronx


  3
          See supra note 1.


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  Defenders Chapter moved to present the Resolution for a full membership vote on November 17,

  2023. (See Br. at 3; see also Verified Compl. (“Compl.”) ¶ 4, ECF No. 1-2.) The ALAA Joint

  Council purportedly voted on and approved the motion by a count of 108 in favor and 13 against,

  with 8 abstentions. (See Br. at 3.)

         On November 16, 2023, Plaintiffs filed suit in New York State court to enjoin the ALAA

  membership vote. (See generally Compl.) Plaintiffs assert the vote and adoption of the Resolution

  constitute violations by Defendants of the duty to provide fair representation to all ALAA

  members, including Plaintiffs, as well as several provisions of the ALAA Bylaws in breach of

  contract. (Id. ¶¶ 17–27.) Plaintiffs also contemporaneously filed an Order to Show Cause seeking

  entry of a temporary restraining order, providing that, pending the hearing and determination of

  the action, Defendants are restrained and enjoined from distributing the Resolution for a vote to

  the membership of the ALAA or otherwise causing it to be distributed or disseminated to the

  membership or putting it to a vote by such members (“TRO”). (ECF No. 6-6.)

         The presiding Judge, the Honorable Felice J. Muraca, granted that application on

  November 17, 2023, and ordered that the parties file additional briefing and appear for oral

  argument on November 21, 2023 to address whether the TRO should be extended. (See ECF No.

  6-6.) Judge Muraca subsequently extended the TRO.

         Defendants removed the case to federal court on December 1, 2023. (Not. of Removal,

  ECF No. 1.) On December 6, 2023, weeks after the extension of the TRO, Defendants filed the

  instant Motion to Dissolve the TRO (“Motion”). (See ECF No. 5.)

         Plaintiffs respectfully request that this Court issue a preliminary injunction to maintain the

  injunctive relief and preclude the submission of the Resolution by the ALAA for a vote in order to

  protect Plaintiffs’ rights pending the determination on Plaintiffs’ claims.




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                                             ARGUMENT

         In the Second Circuit, “the standard for entry of a temporary restraining order is the same

  as for a preliminary injunction.” Guettlein v. U.S. Merch. Marine Acad., 577 F. Supp. 3d 96, 101

  (E.D.N.Y. 2021). A preliminary injunction should issue where, as here, the party seeking such

  relief demonstrates:   (i) there is a likelihood the party will suffer irreparable harm absent the

  issuance of preliminary relief; (ii) the party has a likelihood of success on the merits; (iii) the

  balance of hardships tips in the party’s favor; and (iv) the public interest is not disserved by the

  requested relief. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008); see also Salinger

  v. Colting, 607 F.3d 68, 75 (2d Cir. 2010).

         Moreover, even if likelihood of success on the merits cannot be established, an injunction

  may nonetheless issue if there are “sufficiently serious questions going to the merits to make them

  a fair ground for litigation,” and the “balance of hardships tip[s] decidedly toward the party

  requesting the preliminary relief.” Citigroup Glob. Mkts., Inc. v. VCG Special Opportunities

  Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010). “[T]his alternative approach empowers district

  courts to grant injunctions” even when they “‘cannot determine with certainty’ at the preliminary

  injunction phase that the moving party is ‘more likely than not to prevail on the merits.’” Broker

  Genius, Inc. v. Zalta, 280 F. Supp. 3d 495, 524 (S.D.N.Y. 2017) (quoting Citigroup Glob. Mkts.,

  598 F.3d at 35).

  I.     Plaintiffs’ Injuries Are Quintessentially Irreparable

         The Second Circuit has explained that “[t]o satisfy the irreparable harm requirement,

  [p]laintiffs must demonstrate that absent a preliminary injunction they will suffer an injury that is

  neither remote nor speculative, but actual and imminent, and one that cannot be remedied if a court

  waits until the end of trial to resolve the harm.” Faiveley Transp. Malmo AB v. Wabtec Corp., 559




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  F.3d 110, 118 (2d Cir. 2009) (quoting Grand River Enter. Six Nations, Ltd. v. Pryor, 481 F.3d 60,

  66 (2d Cir. 2007)). That is the type of harm that Plaintiffs are facing here.

          A.      The Resolution Will Harm Plaintiffs’ Ability To Satisfy The Duties They Owe
                  To Their Clients Pursuant To Gideon v. Wainright

          Defendants entirely ignore that Plaintiffs are uniquely situated in that Plaintiffs provide

  constitutionally-mandated representation to indigent and other qualifying clients of all

  backgrounds, races, religions, ethnicities, and national origins. (Compl. ¶¶ 7–11.) Plaintiffs’

  clients do not select Plaintiffs as their attorneys, but rather Plaintiffs are appointed consistent with

  the longstanding constitutional right to counsel espoused by the Supreme Court in Gideon v.

  Wainwright, 372 U.S. 335 (1963); see also Nassau County Law § 722(2).

          Because of that dynamic, it is critically important that the clients’ constitutionally-

  protected right to counsel is free from any perceived bias by or conflict with their attorneys (i.e.,

  Plaintiffs). (Compl. ¶¶ 38–41.) For that very reason, the NCLAS and similar organizations have

  policies prohibiting any organizational statements that could be deemed “political” in nature.

  (NCLAS Handbook at 28, Ex. 3 to Kahn Decl.) Indeed, Plaintiffs’ employer’s handbook prohibits

  Nassau County legal aid lawyers from having “public involvement in all political matters, causes

  and issues . . . either in court or in proximity to the clients we are representing,” including

  "displaying all kinds of political buttons, emblems, bumper stickers and the like . . .” (Id.) If a

  client does not trust his counsel because he believes she is biased against him, the attorney-client

  relationship is irreparably harmed. Cf. Ellis v. Harrison, 947 F.3d 555, 562 (9th Cir. 2020) (en

  banc) (Nguyen, C.J., concurring) (“A trial is fundamentally unfair if defense counsel harbors

  extreme and deep rooted ill will toward the defendant on account of his race.”). Cf. Commonwealth

  v. Dew, 210 N.E.3d 904, 906 (Mass. 2023) (“We conclude that the conflict of interest inherent in

  counsel's bigotry against persons of the defendant's faith and race, which manifested during



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  counsel's representation of the defendant, deprived the defendant of his right to effective assistance

  of counsel - a right upon which our entire system of criminal justice depends to ensure a “fair

  trial.””) (citing Gideon v. Wainwright, 372 U.S. 335, 344 (1963)).

         Take for example, an Israeli-American or Jewish person in need of legal services who is

  assigned one of Plaintiffs to represent him as court-appointed counsel based on his

  constitutionally-guaranteed right articulated in Gideon. If that court-appointed attorney were

  among the members on whose behalf the Resolution—which is clearly anti-Israel and has been

  characterized even by the Legal Aid Society as “laden with coded antisemitic language”—were

  issued, there can be no reasonable dispute that the attorney-client relationship would be irreparably

  harmed, and this client might be left with no reasonable recourse.

         Simply put, if passed, the Resolution is likely to infect the attorney-client relationship

  between the Jewish citizens of Nassau County and their NCLAS legal aid attorneys—including

  Plaintiffs—with the perception that such attorneys are biased against their religion and ethnicity.

  This irretrievable breakdown—which NCLAS’s own guidelines are designed to prevent—

  substantially interferes with Plaintiffs’ ability to perform their jobs as dictated by Gideon. This

  injury is paradigmatically irreparable, as it cannot be rectified by an award of money damages.

  See Hoblock v. Albany Cnty. Bd. of Elections, 422 F.3d 77, 97 (2d Cir. 2005) (“[A]n injury that is

  neither remote nor speculative, but actual and imminent and that cannot be remedied by an award

  of money damages [is irreparable.]”).

         Defendants elide this real and impending harm by myopically focusing on particular

  aspects of the New York Rules of Professional Conduct (NYRPC) to argue that any statement

  made on behalf of an organization cannot meet the standards under the NYRPC to establish a true

  conflict of interest. (Br. at 13-16.) According to Defendants, “because a reasonable lawyer would




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  never presume that each member of a democratic organization supports every statement the

  organization makes,” there is no conflict of interest that will impact the representation. (Id. at 14–

  15.) Defendants cite no authority for this proposition and, in any event, it does not address what

  a reasonable client would presume. (See Compl. ¶¶ 38–41.) Nor does it explain that the

  Resolution is to be issued on behalf the members of the ALAA, rather than the ALAA itself as an

  organization.

         Plaintiffs thus face the irreparable harm of being unable to carry out their duties to serve

  indigent clients under Gideon. Nothing in Defendants’ motion addresses that harm.

         B.       The Resolution Will Irretrievably Damage Plaintiffs’ Professional And
                  Personal Reputations

         In addition to making it difficult, if not impossible, for Plaintiffs to provide

  constitutionally-compliant representation to the Jewish residents of Nassau County, the Resolution

  also would inflict professional, reputational, and personal harm upon Plaintiffs.

         As attorneys in Nassau County, Plaintiffs have relationships with jurists and fellow

  members of the bar who—not surprisingly given the content of the Resolution and the statements

  of the legal aid societies about its meaning and import—view statements like those contained in

  the Resolution to be antisemitic, particularly in the context of the apparent wave of antisemitism

  in the wake of the October 7 Hamas terrorist attack.4 In the eyes of these colleagues and fellow

  members of the community, Plaintiffs’ reputations would forever be diminished. See, e.g., Stein

  v. Lee Eye Ctr., Inc., 2021 WL 5770212, at *3 (W.D. Pa. Dec. 6, 2021) (finding to be irreparable




  4
          Anti-Defamation League, ADL Center on Extremism notes nearly 400-percent increase in
  preliminary antisemitic incidents reported year-over-year (Oct. 25, 2023), available at
  https://www.adl.org/resources/press-release/adl-records-dramatic-increase-us-antisemitic-
  incidents-following-oct-7 (last visited Dec. 12, 2023).


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  the injuries of “loss to [] reputation” and “standing in the community”); Feinerman v. Bernardi,

  558 F. Supp. 2d 36, 50–51 (D.D.C. 2008) (finding irreparable harm based on reputation).

         Defendants argue that these harms are insufficiently immediate because they depend upon

  the reactions that third parties will have to the Resolution. (See Br. At 17.) But since the ALAA

  proffered the Resolution, Plaintiffs and their Jewish colleagues have already been castigated and

  humiliated by members of their own Union. In the context of discussions surrounding the

  Resolution, one Union member called Plaintiffs “Zionists”—clearly intended as a pejorative and

  slur against them—with whom “I will never have camaraderie.” On an ALAA message board,

  another Union member wrote “From the River to the Sea!”, which is widely recognized to be a

  call for the genocide of Jewish people and elimination of Israel. (Smith Reply Affirmation ¶¶ 13–

  14, Ex. 1 to Kahn Decl.) To Plaintiffs, the emotional and reputational toll of these discriminatory

  and harassing acts is real and tangible, not speculative or uncertain. See Feinerman, 558 F. Supp.

  2d at 50–51.

         Moreover, the Resolution itself constitutes a form of compelled speech in which offensive

  and inflammatory statements would be attributed to Plaintiffs against their wish. Such compelled

  speech “creates a presumption of irreparable harm.” Evergreen Ass’n, Inc. v. City of New York,

  740 F.3d 233, 246 (2d Cir. 2014). There is no doubt that permitting the Resolution to proceed

  would cause that central harm to occur, and that this harm cannot be put back in the bottle or

  remedied with money damages.

  II.    Plaintiffs’ Claims Are Likely To Succeed On The Merits

         A.      Defendants Breached The ALAA Constitution And Bylaws

         A membership-wide vote on the Resolution is not only not required under the Bylaws in

  order for the Union to express its views; in fact, the vote and the putative issuance of the Resolution

  on behalf of the membership is not permitted. Article IV, Section 1 of the Bylaws clearly lays out


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  the areas for which the membership “has authority” and must be enforced according to its terms.

  U.S. Bank Nat’l Ass’n v. DLJ Mortg. Capital, 38 N.Y.3d 169, 178 (N.Y. 2022) (“[W]hen parties

  set down their agreement in a clear, complete document, their writing should as a rule be enforced

  according to its terms.”).

         Specifically, the membership “has authority to determine critical issues such as ratify

  contracts, strike, return to work, set dues, and elect Officers and Delegates, including Delegates to

  UAW Constitutional Conventions.” (ALAA Bylaws (“Bylaws”) Art. IV § 1, ECF No. 6-2.)

  Conversely, because the Resolution has nothing to do with these issues, it is not an area in which

  the membership “ha[s] authority.” (See id.) Therefore, the vote itself constitutes a breach of the

  Bylaws.

         Defendants mistakenly suggest that, because the same section of the Bylaws states

  generally that the membership is the “highest authority” within the Union and because the specific

  list of “critical issues” is not exhaustive, Defendants should decide without any guideposts what

  sort of issues can be submitted to a membership vote and adopted on behalf of the membership

  (notwithstanding dissent). That interpretation ignores the nature of the examples of critical issues

  expressly provided in Article IV and the use of the term “such as.”

         Under basic canons of construction, “the meaning of a word in a series of words is

  determined by the company it keeps” and “a series of specific words describing things or concepts

  of a particular sort are used to explain the meaning of a general one in the same series.” 242-44

  East 77th Street, LLC v Greater N. Y. Mut. Ins. Co., 31 A.D.3d 100, 103–04 (1st Dep’t 2006).

  Here, the Resolution is plainly in a completely different category from the types of critical issues

  that the Bylaws clearly contemplate: ratifying contracts, strikes, dues, and elections of officers

  and delegates.




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         Defendants’ own analogy makes this clear. Defendants liken the Resolution to endorsing

  a political candidate, which they say unions often do. Yet, although the Bylaws elsewhere state

  that advancing political interests is among the Union’s purposes (Bylaws Art. III), Article IV does

  not list anything relating to politics among the “critical issues” for which the membership “has

  authority.” However, Article IV does provide that the membership has authority to elect officers

  and delegates, who are then free to make political endorsements and undertake other activities

  consistent with the Bylaws.

         The Resolution is also contrary to the Union’s foundational “Principles and Purposes,” as

  provided in the Bylaws. (Bylaws Art. 3.) They include, among other covenants, commitments to:

  •      “organize and unite into the union all workers who represent indigent clients”;

  •      “improve the[ir] working conditions, treatment, wages, benefits, and professional
         standing”;

  •      “ensure the provision of high-quality legal services to our clients”; and

  •      “protect all members from illegal, improper, arbitrary or discriminatory treatment.” (Id.)

         Defendants attempt to minimize these provisions as “aspirational language” that expresses

  the Union’s “goals.” (Br. at 13.) But these Bylaws “express the terms of a binding contract

  between the union and its members, which define the privileges secured and the duties assumed

  by its members.” Brown v. Sombrotto, 523 F. Supp. 127, 133 (S.D.N.Y. 1981); see also Wooddell

  v. Int’l Bhd. of Elec. Workers, Local 71, 502 U.S. 93, 100–02 (1991) (recognizing a union’s bylaws

  and constitution as binding contracts under Section 301 of the LMRA). Hence, when the ALAA

  and its Defendant officers fail to uphold the Bylaws’ promises or act in violation of the Bylaws’

  guarantees to all members, they commit actionable breach. See Mayes v. Local 106, Intern. Union

  of Operating Eng’rs, 739 F. Supp. 744, 748 (N.D.N.Y. 1990) (upholding breach-of-contract claim

  based on violation of union constitution and bylaws that “require[d], among other things, that each



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  member . . . not engage in conduct which discredits or injures the union or other members”); Grant

  v. Commc’ns Workers of Am.,, Local 1101, 2017 WL 6000605, at *9 (S.D.N.Y. Dec. 1, 2017)

  (denying summary judgment as to claim for breach of due-process provisions of union’s

  constitution in instituting disciplinary action).

          Here, Defendants already breached the Bylaws when they pushed to pass and adopt the

  Resolution, which was never designed to “unite into the union all workers” or to “improve working

  conditions.” To the contrary, it has predictably driven a wedge between workers who fall on

  different sides of this charged issue and has resulted in the castigation of Union members of Jewish

  heritage and faith, as well as others. For example, the Resolution has already led to an increase in

  the incidences of harassment and bullying of Jewish workers and others who do not hold the same

  views as those espoused in the Resolution. For instance, Plaintiffs were targeted by another Union

  member writing “From the River to the Sea!”. Those who have opposed the Resolution have been

  labeled “Zionists” and have been disavowed by other Union members who support the Resolution.

  (See Smith Reply Affirmation ¶¶ 13–14.)

          Moreover, Defendants’ counsel’s proposal that Plaintiffs resign if the Resolution is

  approved further demonstrates that the adoption of the Resolution violates the Bylaws. For

  instance, the Bylaws expressly direct the Union to “unite into the union all workers who represent

  indigent clients” (Bylaws Art. III) and plainly require that membership must be “open to all

  employees” (Bylaws Art. IV § 2).

          Further, these breaches are not without consequence. Plaintiffs have been targeted and

  harassed by other ALAA members. And, as explained above (see § 1.A, supra), the Resolution

  will make it far more difficult to “ensure the provision of high-quality legal services to our clients.”




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           Defendants erroneously (and ironically) argue that an old New York doctrine—the Martin

  rule—forecloses Plaintiffs from suing ALAA for breach of contract. (Br. at 11 (citing, e.g., Martin

  v. Curran, 303 N.Y. 276, 279–80 (1951)); see also N.Y. Gen. Ass’ns Law § 13).) “The Martin

  rule ‘bars all actions against an unincorporated voluntary membership association and bars claims

  against the officers of such an association in their representative capacities where there is no

  allegation that the members of the association authorized or ratified the wrongful conduct

  complained of.” Performing Arts Ctr. Of Suffolk Cnty. v. Actor’s Equity Ass’n, 2022 WL

  16755284, at *5 (E.D.N.Y. Aug. 25, 2022) (Report & Recommendation). Defendants contend that

  Plaintiffs cannot show unanimous authorization or ratification by ALAA members because “at

  least 13 people voted against placing the Resolution before the membership.” (Br. at 11.) In other

  words, according to Defendants, because Plaintiffs oppose the Resolution, they cannot assert

  breach of contract claims related to the Resolution.

           But the Martin rule does not apply to breach claims as here related to a vote. Indeed, a

  longstanding carve-out to the Martin rule articulated in Madden v. Atkins reveals that when a union

  vote is the basis for an alleged breach of the union’s bylaws or constitution, the breach of contract

  claim can be maintained and there is no requirement that the vote be unanimous. 4 N.Y.2d 283,

  294–6 (1958) (holding that plaintiff’s wrongful expulsion claim could proceed despite the Martin

  rule where his expulsion had been effected by a non-unanimous vote). The Martin rule does not

  apply.

           In any event, “neither the Martin rule nor any other authority precludes causes of action

  from being asserted against individual members of the union defendants in their individual

  capacities.” Cablevision Sys. Corp. v. Commc’ns Workers of Am. Dist. 1,131 A.D.3d 1082, 1083

  (2d Dep’t 2015). Thus, even if the Martin rule were to apply here at all—which it does not—it




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  certainly does not apply to Plaintiffs’ claims against the individual Defendants in their individual

  capacities for their breaches of their obligations under the Bylaws.

         Hence, Plaintiffs are likely to succeed on, or at least raise serious questions going to the

  merits of, their breach of contract claims.

         B.      Defendants Breached Their Duty of Fair Representation

         A union’s duty of fair representation requires that it must “serve the interests of all

  members without hostility or discrimination toward any, to exercise its discretion with complete

  good faith and honesty, and to avoid arbitrary conduct.” Breininger v. Sheet Metal Workers Int’l.

  Ass’n Local Union No. 6, 493 U.S. 67, 73 (1989).

         The Complaint alleges that Defendants breached their duty of fair representation because

  their conduct in connection with the Resolution has been “arbitrary, discriminatory, and/or in bad

  faith.” (Compl. ¶ 19.) The Complaint further alleges that the Resolution has been viewed as

  “overtly antisemitic.” (Id. ¶ 43.)

         Indeed, the Resolution itself provides ample basis to conclude that the Union’s effort in

  forcing an improper vote constitutes either invidious discrimination at worst, or at best was based

  on improper or irrational motives amounting to arbitrariness and bad faith.

         There is no legitimate explanation for forcing a vote on the Resolution given that, for

  example:

  •      The Resolution minimizes “the violent tragedy on October 7, 2023” (Resolution at 1) and
         fails to mention (much less condemn) the terrorist group Hamas that perpetrated the mass
         murder, brutal rape, torture and kidnapping of civilians, as well as other atrocities.

  •      The Resolution does not offer any condemnation of the widespread war crimes committed
         by Hamas on an ongoing basis, including Hamas’s continued holding and torture of
         hostages and Hamas’s use of the Palestinian population as human shields.

  •      The Resolution provides opinions on bitterly contested issues under international law,
         lending the legitimacy of the Union’s attorney membership to an area in which they have
         no expertise. For example, the Resolution asserts that Israel’s actions are “illegal”


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         (Resolution at 1, 3), amount to “apartheid” (id. at 3), and are “in violation of the Geneva
         Conventions of 1949” (id.).

  •      The Resolution asserts that the State of Israel is engaged in an “occupation and blockade
         of Palestinian land, sea, and air” (id. at 3) and that “ethnic cleansing and dispossession of
         the Palestinian people” have been “ongoing since the Nakba in 1948 and the Balfour
         Declaration in 1917” (id. at 2). These statements, among others, effectively demand that
         Union members endorse the erasure of the entire State of Israel.

  •      Defendants have not been able to identify even a single instance in which the Union
         procured a membership vote and adopted a resolution on behalf of the membership on any
         issue other than to criticize Israel. (See Digest.)

         Unsurprisingly, the Legal Aid Society itself has described the Resolution as “laden with

  coded antisemitic language and thinly veiled calls for the destruction of the State of Israel”

  (NCLAS Statement Opposing the Resolution).               Such discriminatory statements—whether

  undertaken due to animus, arbitrariness, or bad faith—do not accomplish any legitimate purpose

  of the Union. See, e.g., Breininger v. Sheet Metal Workers Intern. Ass'n Local Union No. 6, 493

  U.S. 67, 78 (1989) (“[A] cursory review of [National Labor Relations] Board volumes . . . discloses

  numerous cases in which the Board has found the duty of fair representation breached where the

  union’s conduct was motivated by . . . strifes resulting from intraunion politics, and racial or gender

  considerations.”).

         Rather than attempting to rebut the Complaint’s allegations and the assessment of the Legal

  Aid Society, Defendants argue that the Court “need not address or attempt to resolve” whether the

  Resolution is antisemitic. (Br. at 14.) But Defendants cannot have their cake and eat it too. If it

  is too early for the Court to address whether the Resolution is antisemitic, the record is also

  insufficient to conclude that Defendants acted without discrimination, arbitrariness, or bad faith.

  Defendants’ ongoing failure to provide any permissible basis for or to defend the Resolution’s

  statements regarding Israel is reason enough at this stage to maintain the injunction.




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         In a last-ditch effort, Defendants argue that, even if they are found to have violated their

  duty of fair representation, they should be let off the hook unless the connection between the breach

  and the alleged harm is sufficiently direct. But Plaintiffs have alleged a number of non-speculative

  injuries that are likely to result from the vote, as described above. In fact, even the text of the

  Resolution itself makes clear that harm is likely to directly follow the Resolution, stating that one

  of its chapters was “threatened with organizational defunding” after adopting similar resolutions,

  and that many individuals have been threatened for expressing similar views. (Resolution at 3.)

         In any event, Defendants’ attempts to minimize and excuse antisemitism should be

  rejected.

  III.   The Balance of Hardships And Public Interest Heavily Favor Injunctive Relief

         Plaintiffs’ showing of a likelihood of success on the merits and irreparable harm is

  sufficient to meet its burden and warrant injunctive relief without consideration of other factors.

  See, e.g., Krispy Kreme Doughnut Corp. v. Satellite Donuts, 725 F. Supp. 2d 389, 398 (S.D.N.Y.

  2010) (granting preliminary injunction upon showing of irreparable harm and likelihood of success

  on the merits). Moreover, Plaintiffs’ claims raise “sufficiently serious questions going to the

  merits to make them a fair ground for litigation,” and injunctive relief is warranted because “the

  balance of hardships tips decidedly” in Plaintiffs’ favor. See Citigroup Global Mkts., Inc. v. VCG

  Special Opportunities Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010).5

         As described above (see § 1.A, supra), permitting Defendants to force through the

  Resolution would not only tarnish Plaintiffs’ reputations by associating them with statements


  5
          “The ‘serious questions’ standard permits a district court to grant a preliminary injunction
  in situations where it cannot determine with certainty that the moving party is more likely than
  not to prevail on the merits of the underlying claims, but where the costs outweigh the benefits of
  not granting the injunction.” Krispy Kreme Doughnut, 725 F. Supp. 2d at 398; see also Spanski
  Enters., Inc. v. Telewizja Polska S.A., 832 F. App’x 723, 724 (2d Cir. 2020) (same).


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  plainly viewed as antisemitic, but also undermine their ability to provide legal services to indigent

  clients. Conversely, Defendants will incur no material harm if the Court maintains the status quo

  and prevents Defendants from holding a vote on the Resolution. As the ALAA’s own Constitution

  and Bylaws forbid Defendants from holding that vote (see § II.A, supra), maintaining the

  injunction would simply uphold the status quo by prohibiting Defendants from doing what they

  are already precluded from doing under the Bylaws and Defendants’ duty of fair representation,

  see Goat Fashion Ltd. v. 1661, Inc., No. 18-cv-11045, 2020 WL 5758917, at *16 (S.D.N.Y. Sept.

  28, 2020) (where injunction “prohibits [defendant] from engaging in conduct that breaches the

  Consent Agreement,” potential harm to defendant “is a problem of its own making”).

         Whenever a request for injunctive relief implicates public interests, “a court should give

  some consideration to the balance of such interests in deciding whether a plaintiff’s threatened

  irreparable injury and probability of success on the merits warrants injunctive relief.” Rodriguez

  ex rel. Rodriguez v. DeBuono, 175 F.3d 227, 233 (2d Cir. 1999). The provision of legal services

  to underserved indigent populations is a quintessential public interest. See Mass. L. Reform Inst.

  v. Legal Servs. Corp., 581 F. Supp. 1179, 1188 (D.D.C. 1984) (issuing a preliminary injunction in

  favor of state legal services centers whose grants had not been renewed), aff’d, 737 F.2d 1206

  (D.C. Cir. 1984). Here, a preliminary injunction would serve the public interest by preserving

  Plaintiffs’ ability—and indeed the ability of other Nassau County legal aid attorneys who are

  members of the ALAA—to continue representing indigent clients consistent with Gideon and the

  attorney-client relationship. (See § I.A, supra.)

  IV.    The Injunctive Relief Is Consistent With The First Amendment

         Defendants’ attempt to invoke the First Amendment as an independent basis to avoid the

  injunction fails. (Br. at 5–8.) Plaintiffs’ claims and requested injunctive relief are consistent with

  the First Amendment.


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         A.      There Is No Prior Restraint

         While Defendants argue that the injunction of the vote amounts to a “prior restraint on

  expression” (Br. at 6), this argument merely “piggybacks” on Defendants’ arguments regarding

  likelihood of success on the merits “and thus fails for the same reasons.” Vans, Inc. v. MSCHF

  Prod. Studio, Inc., 2023 WL 8385065, at *10 n.8 (2d Cir. Dec. 5, 2023). That is because if the

  underlying allegations are actionable, then an injunction is “not considered [a] prior restraint[].”

  Id.

         Aside from the fact that Defendants’ argument is duplicative, the injunctive relief sought

  enjoins the vote on the Resolution but does not preclude the Union or its members from expressing

  their views. Defendants do not actually claim otherwise. While Defendants assert that the TRO

  precludes the members from “exercis[ing] their authority ‘to determine critical issues’” under

  Article IV of the Union’s bylaws (Br. at 5), Defendants omit the remainder of that quotation: the

  “critical issues” over which the membership “has authority to determine” are “critical issues such

  as ratify contracts, strike, return to work, set dues, and elect Officers and Delegates, including

  Delegates to UAW Constitutional Conventions.” (See Bylaws § IV(1).) Defendants nowhere

  explain how the Resolution would constitute a “critical issue” of the sort specified in the Bylaws.

  As also discussed above, it plainly would not. (See supra § II.A.)

         Indeed, while Defendants assert that the Union “has passed resolutions and/or issued

  statements on criminal justice, health care, housing, human rights, and international affairs” (Ohta

  Decl. ¶ 21, ECF No. 6), Defendants do not identify even a single instance in which a resolution

  was issued in the name of the membership. In fact, it does not appear that the Union has ever




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  demanded a “membership vote” or issued a resolution on behalf of the membership on any issue

  other than Israel. (See Digest.)6

         B.      There Is No Free Speech Violation

         Free speech is not without limits. “It has long been established that the First Amendment

  provides no defense to persons who have used otherwise protected speech or expressive conduct

  to force or aid others to act in violation of a valid conduct-regulating statute.” Jews for Jesus, Inc.

  v. Jewish Cmty. Relations Council of N.Y., Inc., 968 F.2d 286, 296 (2d Cir. 1992). Thus,

  Defendants cannot hide behind the First Amendment to undertake discriminatory actions that

  violate their duty of fair representation and contractual obligations.

         Defendants’ assertion that the content of the resolution is protected speech is false and, at

  a minimum, premature to conclude prior to adjudication on the merits. For instance, Defendants

  do not claim that the contents of the proposed resolution are true and accurate. See, e.g., Loekle v.

  Hansen, 551 F. Supp. 74, 81 (S.D.N.Y. 1982) (“there is no constitutional value in false statements

  of fact” (quoting Gertz v. Welch, 418 U.S. 323, 340 (1974)).

         Moreover, courts have scrutinized free speech claims by attorneys—holding, for instance,

  that the First Amendment does not permit lawyers to violate ethics rules. That is because, “[u]nlike

  lay persons, an attorney is ‘an intimate and trusted and essential part of the machinery of justice’”

  and “perceived by the public to be in a position of knowledge, and therefore, ‘a crucial source of

  information and opinion.’” Matter of Giuliani, 197 A.D.3d 1, 7 (1st Dep’t 2021) (citing Gentile

  v. State Bar of Nevada, 501 U.S.1030 (1991)). Here, Defendants’ actions should be subject to

  particular scrutiny because the Resolution contains a number of inflammatory assertions and


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          The other “Statements and Positions” appear to be references, e.g., to statements by Union
  officers, newsletters, lectures, and resolutions by the Union’s Delegate Council and Executive
  Board. (See Digest.)


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  baseless legal conclusions with respect to Israel’s actions under international law. The First

  Amendment also provides no shelter for creating violations of ethical duties for the Union’s

  membership. (Compl. ¶¶ 11, 31, 40.)

         C.      The Resolution Would Improperly Compel Speech

         Contrary to Defendants’ suggestions, there is no First Amendment right to compel speech

  or to falsely assert that Plaintiffs as Union members support an antisemitic statement.

         Defendants characterize plaintiffs’ objection as that they “simply do not want to be

  associated with the Resolution.” (Br. at 18.) But that misstates the nature of the Resolution and

  the vote. By imposing a vote on the Union membership and issuing the Resolution on behalf of

  the membership, the entire purpose of the Resolution is to take a statement that Union leadership

  could have made on its own—as it does with respect to issues other than Israel—and to claim that

  Union members support the statement.

          Indeed, if a statement were made by Union leadership, rank-and-file members could

  exercise their free speech rights by choosing to associate themselves with that statement, however

  abhorrent it may be. They could do so in any number of ways, such as signing a petition or sharing

  the statement on social media. What the Union should not be permitted to do is to amplify and

  legitimize a politically inflammatory, biased, and antisemitic communication by presenting it,

  falsely, as a message from all legal aid attorneys in the chapter membership. It is especially

  egregious because the individual legal aid attorneys the Resolution purports are its authors are in

  fact prohibited from publicly connecting their positions as legal aid lawyers to such a message.

  (See NCLAS Handbook at 8.)         The notion that ALAA may capitalize upon the integrity,

  objectivity, and legitimacy associated with being a legal aid attorney in service of its own biased

  political agenda—an active degradation of legal aid lawyers’ professionalism and objectivity—in




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  the public eye turns free speech on its head and cannot be required by the First Amendment. It is

  an injury.

                                          CONCLUSION

         Plaintiffs respectfully request that the Court deny Defendants’ Motion to Dissolve the

  Temporary Restraining Order and impose a preliminary injunction prohibiting the vote and

  adopting of the Resolution pending a decision Plaintiffs’ claims on the merits.

   Dated: New York, New York
          December 13, 2023



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